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               Exhibit 3
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                             EVIDENCE OF USE FOR U.S. PATENT NO. US6137789

Title: Mobile station employing selective discontinuous transmission for high speed data services in CDMA
      multi-channel reverse link configuration
Application No.: US08/882,822
Filing Date: June 26, 1997
Issue Date: October 24, 2000


Accused Product/Standard:




                                                     Source: https://www.pdevice.com/product/zte-atrium-price-specs




                                                     Source: https://www.devicespecifications.com/en/model/848c3d4c




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Source: https://www.cnet.com/products/zte-z793c-black-3g-4-gb-cdma-smartphone/



Evidence of Use
Claim Language                                                   Evidence of Infringement

5. A method for operating     ZTE Z793C (also known as ZTE Atrium) smart phone supports cdma2000 technology. As shown in
a mobile station,             the screenshot attached below, ZTE Z793C was sold in United States and has electrical
comprising steps of:          parameters such as SAR values as per the US standards. Therefore, this implies that the
                              concerned ZTE handset was available in the US market. The 3GPP2 C.S0002-E standard is a
                              Physical layer standard for CDMA2000 spread spectrum system. The specification provides a
                              method of power control at mobile station.




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Claim Language                                          Evidence of Infringement




                   Source: https://www.cnet.com/products/zte-z793c-black-3g-4-gb-cdma-smartphone/




                   Source: https://www.pdevice.com/product/zte-atrium-price-specs




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Claim Language                                                   Evidence of Infringement



                            Source: https://www.devicespecifications.com/en/model/848c3d4c




                            Source: 3GPP2 C.S0002-E v3.0, at page 89 of 568.


establishing a wireless     The specification allows the establishment of a wireless data communication from the transmitter
data communication from     of the mobile station to the receiver of the base station at a predetermined data rate
a transmitter of a mobile   simultaneously through at least one data channel. For example, a wireless data communication is
station at a
                            established between the mobile station and the base station through the reverse fundamental
predetermined data rate
simultaneously through at   channel and reverse supplemental code channel (“at least one data channel”) at predetermined
least one data channel;     data rates.




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                            e: 3GPP2 C.S0002-E v3.0, at page 67 & 68 of 568.




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Claim Language                                                      Evidence of Infringement




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                              Source: 3GPP2 C.S0002-E v3.0, at page 302 & 279 of 568.


receiving a command to        The specification allows the reception of a command by the mobile station to increase the power
increase the transmission     of a transmission from the mobile station transmitter. For example, the transmission of power
power of said mobile          control bits (“command”) from the base station towards the mobile device via Forward Power
station transmitter;          Control Subchannel signals the mobile station to increase or decrease transmit power. Depending
                              on the power control bits, the mobile station increases or decreases its output power. A ‘0’ power
                              control bit implies an increase in transmit power and a ‘1’ power control bit implies a decrease in
                              transmit power.




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Claim Language                                          Evidence of Infringement




                   Source: 3GPP2 C.S0002-E v3.0, at page 65, 458 & 459 of 568.




                   Source: 3GPP2 C.S0002-E v3.0, at page 463 of 568.




                   Source: 3GPP2 C.S0002-E v3.0, at page 99, 100 of 568.




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Claim Language                                                    Evidence of Infringement

determining in said         The specification allows the mobile station to determine if the increased transmission power will
mobile station that the     exceed a transmission power threshold value. For example, the mobile device provides a closed
increased transmission      loop adjustment range greater than 24 dB around its open loop estimate and also the output
power will exceed a
                            power should not be more than defined by parameter TX_PWR_LIMITs (“transmission power
transmission power
threshold value;            threshold value”).




                            Source: 3GPP2 C.S0002-E v3.0, at page 99, 100 of 568.




                            Source: 3GPP2 C.S0002-E v3.0, at page 87, 98 & 100 of 568.



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Claim Language                                                     Evidence of Infringement

reducing said data rate by   The specification allows the mobile device to reduce the data rate by disabling data transmission
disabling data               through the at least one data channel to increase the transmission power. For example, the
transmission through the     mobile device increases the transmission power by discontinuing the data transmission through at
at least one data channel;
                             least one active reverse supplemental code channel (“at least one data channel”).
increasing the
transmission power;




                             Source: 3GPP2 C.S0002-E v3.0, at page 98 & 100 of 568.




                             External Source: https://www.mpirical.com/glossary/reverse-supplemental-code-channel




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Claim Language                                                    Evidence of Infringement

receiving a command to      The specification allows the mobile device to receive the command from the base station to
decrease the transmission   increase the power of transmission from the mobile station. For example, the mobile station
power of said mobile        receives a power control bit (“command”) from the base station which indicates the mobile station
station;                    to increase its output power level.




                            Source: 3GPP2 C.S0002-E v3.0, at page 65, 458 & 459 of 568.




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Claim Language                                                   Evidence of Infringement

determining in said          As per the claim limitation, if the base station instructs the mobile station to reduce power, then
mobile station that the      the mobile should increase the data rate through the data channel on which the communication
decreased transmission       was previously reduced/discontinued.
power, assuming that the
data rate were increased     The specification provides a reference where the transmissions on the supplemental code channel
through the at least one     are discontinued if the output power of the mobile station exceeds the limits. Thus, at this point,
previously reduced data      only the fundamental channel is activated. Since the mobile station increases the transmission
channel, will be less than   power by disabling communication on supplement code channel i.e., lowering the data rate
the transmission power       (because requested transmission power exceeded the limits), this implies that there is inverse
threshold value;             relationship between the data rate and transmission power of the mobile station.
increasing said data rate
through the at least one     Accordingly, upon receiving a command to lower the transmission power to bring the power within
previously reduced data      the threshold limits, any application at the mobile station which requires higher data rates that
channel; and                 cannot be fulfilled by the fundamental channel alone would result in resumption of the
decreasing the               communication on the supplemental channel to meet the higher data rate demand imposed by
transmission power.          the application.




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Claim Language                                        Evidence of Infringement




                   Source: 3GPP2 C.S0002-E v3.0, at page 65, 98 & 100 of 568.




                   Source: 3GPP2 C.S0002-E v3.0, at page 68 of 568.




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